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UNITED STATES DISTRICT COURT FILED by iO...
SOUTHERN DISTRICT OF FLORIDA

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CARLOS FUG KE
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SECURITIES AND EXCHANGE COMMISSION,

 

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)
)
Plaintiff, ) CIVIL ACTION NO:
)
Vv. ) 97-6892-CIV-ZLOCH
)
) FINAL JUDGMENT OF
MITCHELL A. HAMMER and ) PERMANENT INJUNCTION
JOSEPH LETZELTER, JR., ) AND OTHER RELIEF AS
) TO MITCHELL A. HAMMER
Defendants. )
)

 

Plaintiff Securities and Exchange Commission ("SEC") commenced
this action by filing its complaint against Defendants Mitchell A.
Hammer ("Hammer") and Joseph Letzelter, Jr. Defendant Hammer, by
the Consent annexed hereto, without admitting or denying any of the
allegations of the SEC’s Complaint, except as to the jurisdiction
of this Court over him and over the subject matter of this action,
has agreed to the entry of this Final Judgment of Permanent
Injunction and Other Relief ("Final Judgment"). This Court, having
jurisdiction over Defendant Hammer and over the subject matter
hereof, and the Court having accepted such Consent and being fully
advised in the premises,

I.

FRAUD IN VIOLATION OF SECTION 17 (a)
OF THE SECURITIES ACT OF 1933

IT IS HEREBY ADJUDGED that Defendant
Hammer, his officers, agents, servants, employees, attorneys in
fact, and all persons in active concert or participation with him,

and each of them, directly or indirectly, who receive actual notice

 
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of this Final Judgment, by personal service or otherwise, be and
they hereby are, permanently restrained and enjoined from, directly
or indirectly, singly or in concert, as aiders and abettors or
otherwise, in the offer or sale of any security, by the use of any
means or instruments of transportation or communication in
interstate commerce or by use of the mails:

(a) knowingly employing any device, scheme or artifice to
defraud;

(b) obtaining money or property by means of any untrue
statement of material fact or omission to state any
material fact necessary in order to make the statement
made, in light of the circumstances under which it was
made, not misleading; or

(c) engaging in any transaction, practice or course of
business which operates or would operate as a fraud or
deceit upon purchasers or prospective purchasers of any
such security,

in violation of Sections 17(a) (1), 17(a) (2) and 17(a) (3) of the
Securities Act of 1933 [15 U.S.C. §§ 77q(a) (1), 77q(a) (2) and
77q (a) (3)].

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FRAUD IN VIOLATION OF SECTION 10(b) OF
THE SECURITIES EXCHANGE ACT OF 1934 AND RULE 10b-5 THEREUNDER

IT IS FURTHER ADJUDGED that Defendant
Hammer, his officers, agents, servants, employees, attorneys in
fact, and all persons in active concert or participation with him,
and each of them, directly or indirectly, who receive actual notice

of this Final Judgment, by personal service or otherwise, be and
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they hereby are, permanently restrained and enjoined from,
knowingly and willfully, directly or indirectly, singly or in
concert, as aiders and abettors or otherwise, in connection with
the purchase or sale of any security, by the use of any means or
instrumentality of interstate commerce or of the mails, or of any
facility of any national securities exchange:

(a) employing any device, scheme or artifice to defraud;

(b) making any untrue statements of material fact or omitting
to state a material fact necessary in order to make the
statements made, in the light of the circumstances under
which they were made, not misleading; or

(c) engaging in any act, practice or course of business which
operates or would operate as a fraud or deceit upon any
person,

in violation of Section 10(b) of the Securities Exchange Act of
1934 ("Exchange Act") [15 U.S.C. § 78j(b)], and Rule 10b-5 [17
C.F.R. § 240.10b-5], thereunder.
TII.
RECORDKEEPING VIOLATIONS OF SECTIONS

13 (b) (2) (A), 13 (b) (2) (B), AND 13 (b) (5)
OF THE EXCHANGE ACT AND RULE 13b2-1

__OF THE EXCHANGE ACT AND RULE i50D474_

IT IS FURTHER ADJUDGED that Defendant
Hammer, his officers, agents, servants, employees, attorneys in
fact, and all persons in active concert or participation with him,
and each of them, directly or indirectly, who receive actual notice

of this Final Judgment, by personal service or otherwise, be and

they hereby are, permanently restrained and enjoined from, directly
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or indirectly, singly or in concert, as aiders and abettors or
otherwise;

(a) individually or as control persons, to cause any issuer
which has a class of securities registered under Section
12 of the Exchange Act to fail to make and keep books,
records, and accounts, which, in reasonable detail,
accurately and fairly reflect the transactions and
dispositions of the issuer's assets;

(b) individually or as control persons, to cause any issuer
which has a class of securities registered under Section
12 of the Exchange Act to fail to devise and maintain a
system of internal accounting controls sufficient to
provide reasonable assurances that transactions are
properly executed and recorded, access to assets is

| restricted, and at appropriate intervals assets are
accounted for;

(c) individually or as control persons, to falsify any book
or record of any issuer which has a class of securities
registered under Section 12 of the Exchange Act; or

(a) individually or as control persons, knowingly to
circumvent or knowingly fail to implement a system of
internal accounting controls or knowingly falsify any
book, record, or account described in Section 13(b) (2) of
the Exchange Act,

in violation of Sections 13(b) (2) (A), and 13(b) (2) (B) of the

Exchange Act [15 U.S.C. §§ 78m(b) (2) (A), and (b) (2) (B)], Section
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13(b) (5) of the Exchange Act [15 U.S.C. §§ 78m(b) (5)], and Rule
13b2-1 [17 C.F.R. § 240.13b2-1], thereunder.
Iv.

FINANCIAL REPORTING VIOLATIONS OF SECTIONS 13(a) OF
THE EXCHANGE ACT AND RULES 13a-1, 13a-11, 13a-13, AND 12b-20

IT IS FURTHER ADJUDGED that Defendant
Hammer, his officers, agents, servants, employees, attorneys in
fact, and all persons in active concert or participation with him,
and each of them, directly or indirectly, who receive actual notice
of this Final Judgment, by personal service or otherwise, be and
they hereby are, permanently restrained and enjoined from, directly
or indirectly, singly or in concert, as aiders and abettors or
otherwise, individually or as control persons, to cause any issuer
which has a class of securities registered under Section 12 of the
Exchange Act to fail to file periodic and other reports with the
SEC containing such information as the SEC’s rules prescribe,
including, but not limited to the filing of accurate annual,
current, and quarterly reports, including accurate disclosures of
the issuer’s revenues, income, and net earnings, and to add to any
required information in a statement or report any further material
information, in violation of Section 13(a) of the Exchange Act [15
U.S.C. § 78m(a)] and Rules 13a-1, 13a-11, 13a-13 and 12b-20 [17
C.F.R. §§ 240.13a-1, 240.13a-11, 240.13a-13, 240.12b-20],
thereunder.

Vv.

IT IS FURTHER ADJUDGED that, pursuant to

Section 21(d)(2) of the Exchange Act [15 U.S.C. §78u(d) (2)],

Defendant Hammer is hereby permanently barred from acting as an
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officer or director of any issuer required to file reports pursuant
to Section 12 of the Exchange Act.
VI.

IT IS HEREBY FURTHER ADJUDGED that this Court shall retain
jurisdiction over this matter and Defendant Hammer for all
purposes.

To the extent not otherwise disposed of herein, all pending
motions are hereby DENIED as moot.

ADJUDGED in Chambers at Fort Lauderdale, Broward County,

Florida, this SE day of October, 1997.

WILLIAM J. ZLOCH
United States District Judge

 

Copies furnished:

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